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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA


   SKYCAM, LLC, a Delaware limited liability          )
   company,                                           )
                                                      )
                           Plaintiff,                 )
                                                      )
   v.                                                 )
                                                      )          Case No. 09-CV-294-GKF-FHM
   PATRICK J. BENNETT, an individual, and             )
   ACTIONCAM, LLC, an Oklahoma Limited                )
   Liability Company,                                 )
                                                      )
                           Defendants.                )


    PLAINTIFF SKYCAM’S MOTION FOR ORDER REQUIRING JUDGMENT DEBTOR
         TO APPEAR AND ANSWER CONCERNING PROPERTY AND ASSETS

          Plaintiff Skycam, LLC, (“Skycam”) requests an order requiring Defendant Patrick J.

   Bennett to appear and answer questions concerning his property and assets, pursuant to 12 Okla.

   Stat. § 842 and Rule 69, Fed R. Civ. P. In support of this motion, Skycam would show the Court as

   follows:

          1.        Judgment has been entered against Bennett and in favor of Plaintiff as follows: (a)

   Judgment entered September 30, 2012, [Doc. #349] in the total amount of $584,000.00; (b) Order

   on Bill of Costs entered on September 30, 2013, [Doc. #403] in the amount of $150,000.00; and (c)

   Order Awarding Attorney Fees Entered October 29, 2013, [Doc. #420] in the amount of

   $2,000,000.00.

          2.        Pursuant to Rule 69, Fed. R. Civ. P. and Okla. Stat. § 842, Skycam requests that

   Defendant Bennett be required to appear and answer concerning his property.

          3.        Rule 69(a) of the Federal Rules of Civil Procedure states that state law, in this case

   Oklahoma law, provides for (a) the procedure on execution and “in proceedings supplementary to
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   and in aid of judgment or execution”, and (b) discovery from any person, including the judgment

   debtor.

             4.      Pursuant to OKLA. STAT. tit. 12, § 842(A):

             At any time after a final judgment, order, or decree is filed, on application of the
             judgment creditor, a judge of the court in which the final judgment, order, or
             decree was rendered shall order the judgment debtor to appear before the judge, or
             a referee appointed by the judge, at a time and place specified in the order, to
             answer concerning the judgment debtor’s property. The judge may, by order,
             enjoin the judgment debtor from alienating, concealing, or encumbering any of
             the judgment debtor’s nonexempt property pending the hearing and further order
             of the court.

   WHEREFORE, SKYCAM requests the court to enter and order:

             (a) Directing Defendant Bennett to appear to answer under oath questions concerning his

                  property and assets;

             (b) Directing Bennett to produce at least twenty days in advance of the hearing, all of its

                  books, records, and other financially-related information (including all bank statements

                  and general ledgers) in order that a full and complete examination on Bennett’s assets

                  may be had;

             (c) Restraining and enjoining Bennett, pending a further order of this Court, from

                  transferring, alienating, concealing and/or encumbering any non-exempt property; and

             (d) Granting such other and further relief as is just and proper.

   Dated:December 12, 2014




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                                               Respectfully submitted,


                                               /s/Charles Greenough
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                                               Charles Greenough, OBA #12311
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                                               ATTORNEYS FOR SKYCAM LLC




                                  CERTIFICATE OF SERVICE

          I hereby certify that on December 12, 2014, I electronically transmitted the foregoing
   document to the Clerk of Court using the ECF System for filing and transmittal to all parties who
   have entered their appearances in this case on said system, and mailed a true and exact copy to:

          Patrick J. Bennett
          6600 South Ash Place
          Broken Arrow, OK 74011

                                               /s/Charles Greenough
                                               Charles Greenough




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